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   1   Richard J. Grabowski (State Bar No. 125666)
       Ryan D. Ball (State Bar No. 321772)
   2   Jack Williams IV (State Bar No. 309154)
       JONES DAY
   3   3161 Michelson Drive, Suite 800
       Irvine, California 92612
   4   Tel: 949.851.3939
       Fax: 949.553.7539
   5   Email: rgrabowski@jonesday.com
       Email: rball@jonesday.com
   6   Email: jackwilliams@jonesday.com
   7   Attorneys for Defendant
       EXPERIAN INFORMATION
   8   SOLUTIONS, INC.
   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11
  12   BRYCE ABBINK, individually and on          Case No. 8:19-cv-01257-JFW-PJWx
  13   behalf of all others similarly situated,   Hon. John F. Walter
  14                   Plaintiff,                 STIPULATED [PROPOSED]
             v.                                   PROTECTIVE ORDER
  15
  16   EXPERIAN INFORMATION
       SOLUTIONS, INC., et al.                    Complaint filed: June 21, 2019
  17                   Defendants.
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                                                                 STIPULATED PROTECTIVE ORDER
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   1         A. PURPOSES AND LIMITATIONS
   2         Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation may be
   5   warranted. Such information may consist of defendant’s trade secrets, confidential
   6   research, development, and technology, or other proprietary information, and
   7   plaintiff’s personal income, credit, and other confidential information. Accordingly,
   8   the parties hereby stipulate to and petition the Court to enter the following Stipulated
   9   Protective Order. The parties acknowledge that this Order does not confer blanket
  10   protections on all disclosures or responses to discovery and that the protection it
  11   affords from public disclosure and use extends only to the limited information or
  12   items that are entitled to confidential treatment under applicable law. The parties
  13   further acknowledge, as set forth in Section 12.3 below, that this Stipulated Protective
  14   Order does not entitle them to file confidential information under seal; Civil Local
  15   Rule 79-5 sets forth the procedures that must be followed and the standards that will
  16   be applied when a party seeks permission from the court to file material under seal.
  17         B. GOOD CAUSE STATEMENT
  18         This action is likely to involve trade secrets, customer and pricing lists and
  19   other valuable research, development, commercial, financial, technical and/or
  20   proprietary information for which special protection from public disclosure and from
  21   use for any purpose other than prosecution of this action is warranted. Such
  22   confidential and proprietary materials and information consist of, among other
  23   things, confidential business or financial information, information regarding
  24   confidential business practices, or other confidential research, development, or
  25   commercial information (including information implicating privacy rights of third
  26   parties), consumer credit and financial information, information otherwise generally
  27   unavailable to the public, or any other information which may be privileged or
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   1   otherwise protected from disclosure under state or federal statutes, court rules, case
   2   decisions, or common law.        In addition, this action will also like involve the
   3   dissemination    of   consumers’     personally    identifiable    information        (“PII”).
   4   Accordingly, to expedite the flow of information, to facilitate the prompt resolution
   5   of disputes over confidentiality of discovery materials, to adequately protect
   6   information the parties are entitled to keep confidential, to ensure that the parties are
   7   permitted reasonable necessary uses of such material in preparation for and in the
   8   conduct of trial, to address their handling at the end of the litigation, and serve the
   9   ends of justice, a protective order for such information is justified in this matter. It
  10   is the intent of the parties that information will not be designated as confidential for
  11   tactical reasons and that nothing be so designated without a good faith belief that it
  12   has been maintained in a confidential, non-public manner, and there is good cause
  13   why it should not be part of the public record of this case.
  14         DEFINITIONS
  15                Action: the above-captioned federal lawsuit.
  16                Challenging Party: a Party or Non-Party that challenges the designation
  17   of information or items under this Order.
  18                “CONFIDENTIAL” Information or Items: information (regardless of
  19   how it is generated, stored or maintained) or tangible things that qualify for protection
  20   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
  21   Cause Statement.
  22                “HIGHLY       CONFIDENTIAL           –   ATTORNEY            EYES       ONLY”
  23   Information or Items: information (regardless of how it is generated, stored or
  24   maintained) or tangible things that qualify for protection under Federal Rule of Civil
  25   Procedure 26(c), and as specified above in the Good Cause Statement. Additionally,
  26   material so designated shall be reasonably believed by the Designating Party to be so
  27   competitively or otherwise sensitive that it is entitled to extraordinary protections.
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   1                 Counsel: Outside Counsel of Record and House Counsel (as well as
   2   their support staff).
   3                 Designating Party: a Party or Non-Party that designates information or
   4   items that it produces in disclosures or in responses to discovery as
   5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL”
   6                 Disclosure of Discovery Material: all items or information, regardless
   7   of the medium or manner in which it is generated, stored, or maintained (including,
   8   among other things, testimony, transcripts, and tangible things), that are produced or
   9   generated in disclosures or responses to discovery in this matter.
  10                 Expert: a person with specialized knowledge or experience in a matter
  11   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  12   an expert witness or as a consultant in this Action.
  13                 House Counsel: attorneys who are employees of a party to this Action.
  14   House Counsel does not include Outside Counsel of Record or any other outside
  15   counsel.
  16                 Non-Party: any natural person, partnership, corporation, association, or
  17   other legal entity not named as a Party to this action.
  18                 Outside Counsel of Record: attorneys who are not employees of a party
  19   to this Action but are retained to represent or advise a party to this Action and have
  20   appeared in this Action on behalf of that party or are affiliated with a law firm which
  21   has appeared on behalf of that party, and includes support staff.
  22                 Party: any party to this Action, including all of its officers, directors,
  23   employees, consultants, retained experts, and Outside Counsel of Record (and their
  24   support staffs).
  25                 Producing Party: a Party or Non-Party that produces Disclosure or
  26   Discovery Material in this Action.
  27                 Professional Vendors: persons or entities that provide litigation support
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   1   services (e.g., photocopying, videotaping, translating, preparing exhibits or
   2   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   3   and their employees and subcontractors.
   4                Protected Material: any Disclosure or Discovery Material that is
   5   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL.”
   6                Receiving Party: a Party that receives Disclosure or Discovery Material
   7   from a Producing Party.
   8         SCOPE
   9         The protections conferred by this Stipulation and Order cover not only
  10   Protected Material (as defined above), but also (1) any information copied or
  11   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  12   compilations of Protected Material; and (3) any testimony, conversations, or
  13   presentations by Parties or their Counsel that might reveal Protected Material.
  14         Any use of Protected Material at trial shall be governed by the orders of the
  15   trial judge. This Order does not govern the use of Protected Material at trial.
  16         DURATION
  17         Even after final disposition of this litigation, the confidentiality obligations
  18   imposed by this Order shall remain in effect until a Designating Party agrees
  19   otherwise in writing or a court order otherwise directs. Final disposition shall be
  20   deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  21   or without prejudice; and (2) final judgment herein after the completion and
  22   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  23   including the time limits for filing any motions or applications for extension of time
  24   pursuant to applicable law.
  25         DESIGNATING PROTECTED MATERIAL
  26                Exercise of Restraint and Care in Designating Material for Protection.
  27         Each Party or Non-Party that designates information or items for protection
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   1   under this Order must take care to limit any such designation to specific material that
   2   qualifies under the appropriate standards. The Designating Party must designate for
   3   protection only those parts of material, documents, items, or oral or written
   4   communications that qualify so that other portions of the material, documents, items,
   5   or communications for which protection is not warranted are not swept unjustifiably
   6   within the ambit of this Order.
   7         Mass, indiscriminate, or routinized designations are prohibited. Designations
   8   that are shown to be clearly unjustified or that have been made for an improper
   9   purpose (e.g., to unnecessarily encumber the case development process or to impose
  10   unnecessary expenses and burdens on other parties) may expose the Designating
  11   Party to sanctions.
  12         If it comes to a Designating Party’s attention that information or items that it
  13   designated for protection do not qualify for protection, that Designating Party must
  14   promptly notify all other Parties that it is withdrawing the inapplicable designation.
  15                Manner and Timing of Designations. Except as otherwise stipulated or
  16   ordered, Disclosure or Discovery Material that qualifies for protection under this
  17   Order must be clearly so designated before the material is disclosed or produced.
  18         Designation in conformity with this Order requires:
  19         (a)    for information in documentary form (e.g., paper or electronic
  20   documents, but excluding transcripts of depositions or other pretrial or trial
  21   proceedings), that the Producing Party affix at a minimum, the legend
  22   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”) or the legend
  23   “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY” (hereinafter “HIGHLY
  24   CONFIDENTIAL legend”), to each page that contains protected material. If only a
  25   portion or portions of the material on a page qualifies for protection, the Producing
  26   Party also must clearly identify the protected portion(s) (e.g., by making appropriate
  27   markings in the margins).
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   1         A Party or Non-Party that makes original documents available for inspection
   2   need not designate them for protection until after the inspecting Party has indicated
   3   which documents it would like copied and produced. During the inspection and
   4   before the designation, all of the material made available for inspection shall be
   5   deemed “CONFIDENTIAL.”              After the inspecting Party has identified the
   6   documents it wants copied and produced, the Producing Party must determine which
   7   documents, or portions thereof, qualify for protection under this Order. Then, before
   8   producing the specified documents, the Producing Party must affix the
   9   CONFIDENTIAL legend or HIGHLY CONFIDENTIAL legend to each page that
  10   contains Protected Material consistent with the level of protection appropriate for the
  11   material. If only a portion or portions of the material on a page qualifies for
  12   protection, the Producing Party also must clearly identify the protected portion(s)
  13   (e.g., by making appropriate markings in the margins).
  14         (b)    for testimony given in depositions, that the Designating Party identify,
  15   on the record, before the close of the deposition, all of the Disclosure or Discovery
  16   Material that the Designating Party designates as Protected Material.
  17         (c)    for information produced in some form other than documentary and for
  18   any other tangible items, that the Producing Party affix in a prominent place on the
  19   exterior of the container or containers in which the information is stored the
  20   CONFIDENTIAL legend or the HIGHLY CONFIDENTIAL legend. If only a
  21   portion or portions of the information warrants protection, the Producing Party, to
  22   the extent practicable, shall identify the protected portion(s).
  23                Inadvertent Failures to Designate. If timely corrected, an inadvertent
  24   failure to designate qualified information or items does not, standing alone, waive
  25   the Designating Party’s right to secure protection under this Order for such material.
  26   Upon timely correction of a designation, the Receiving Party must make reasonable
  27   efforts to assure that the material is treated in accordance with the provisions of this
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   1   Order.
   2         CHALLENGING CONFIDENTIALITY DESIGNATIONS
   3                Timing of Challenges.        Any Party or Non-Party may challenge a
   4   designation of confidentiality at any time that is consistent with the Court’s
   5   Scheduling Order.
   6                Meet and Confer. The Challenging Party shall initiate the dispute
   7   resolution process under Local Rule 37.1 et seq.
   8                Burden. The burden of persuasion in any such challenge proceeding
   9   shall be on the Designating Party. Frivolous challenges, and those made for an
  10   improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
  11   other parties) may expose the Challenging Party to sanctions. Unless the Designating
  12   Party has waived or withdrawn the confidentiality designation, all parties shall
  13   continue to afford the material in question the level of protection to which it is entitled
  14   under the Producing Party’s designation until the Court rules on the challenge.
  15         ACCESS TO AND USE OF PROTECTED MATERIAL
  16                Basic Principles. A Receiving Party may use Protected Material that is
  17   disclosed or produced by another Party or by a Non-Party in connection with this
  18   Action only for prosecuting, defending, or attempting to settle this Action. Such
  19   Protected Material may be disclosed only to the categories of persons and under the
  20   conditions described in this Order.        When the Action has been terminated, a
  21   Receiving Party must comply with the provisions of section 13 below (FINAL
  22   DISPOSITION).
  23         Protected Material must be stored and maintained by a Receiving Party at a
  24   location and in a secure manner that ensures that access is limited to the persons
  25   authorized under this Order.
  26                Disclosure of “CONFIDENTIAL” Information or Items.                        Unless
  27   otherwise ordered by the court or permitted in writing by the Designating Party, a
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   1   Receiving    Party    may    disclose    any    information      or    item      designated
   2   “CONFIDENTIAL” only to:
   3         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
   4   as employees of said Outside Counsel of Record to whom it is reasonably necessary
   5   to disclose the information for this Action;
   6         (b)    the officers, directors, and employees (including House Counsel) of the
   7   Receiving Party to whom disclosure is reasonably necessary for this Action;
   8         (c)    Experts (as defined in this Order) of the Receiving Party to whom
   9   disclosure is reasonably necessary for this Action and who have signed the
  10   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  11         (d)    the court and its personnel;
  12         (e)    court reporters and their staff;
  13         (f)    professional jury or trial consultants, mock jurors, and Professional
  14   Vendors to whom disclosure is reasonably necessary for this Action and who have
  15   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  16         (g)    the author or recipient of a document containing the information or a
  17   custodian or other person who otherwise possessed or knew the information;
  18         (h)    during their depositions, witnesses and attorneys for witnesses, in the
  19   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  20   requests that the witness sign the form attached as Exhibit A hereto; and (2) they will
  21   not be permitted to keep any confidential information unless they sign the
  22   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  23   agreed by the Designating Party or ordered by the court. Pages of transcribed
  24   deposition testimony or exhibits to depositions that reveal Protected Material may be
  25   separately bound by the court reporter and may not be disclosed to anyone except as
  26   permitted under this Stipulated Protective Order; and
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    1         (i)     any mediator or settlement officer, and their supporting personnel,
    2   mutually agreed upon by any of the parties engaged in settlement discussions.
    3                 Disclosure of HIGHLY CONFIDENTIAL – ATTORNEY EYES
    4   ONLY Information or Items. Unless otherwise ordered by the court or permitted in
    5   writing by the Designating Party, a Receiving Party may disclose any information or
    6   item designated “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY” only
    7   to:
    8         (a)     The Receiving Party’s Outside Counsel of Record in this Action and
    9   employees of Outside Counsel of Record to whom it is reasonably necessary to
   10   disclose the information;
   11         (b)     The court and its personnel;
   12         (c)     Outside court reporters and their staff, professional jury or trial
   13   consultants, and Professional Vendors to whom disclosure is reasonably necessary,
   14   and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
   15   A); and
   16         (d)     The author or recipient of a document containing the material, or a
   17   custodian or other person who otherwise possessed or knew the information.
   18                 Approving or Objecting to Disclosure of HIGHLY CONFIDENTIAL –
   19   ATTORNEY EYES ONLY Material to Experts. Unless agreed to in writing by the
   20   designator, a party seeking to disclose to any Expert retained by Outside Counsel of
   21   Record      any   information    or   item    that   has   been   designated       HIGHLY
   22   CONFIDENTIAL – ATTORNEY EYES ONLY must first make a written request to
   23   the   designator    that   (1)   identifies   the    general   categories    of    HIGHLY
   24   CONFIDENTIAL – ATTORNEY EYES ONLY information that the receiving party
   25   seeks permission to disclose to the Expert, (2) sets forth the full name of the Expert
   26   and the city and state of his or her primary residence, (3) attaches a copy of the
   27   Expert’s current resume, and (4) identifies the Expert’s current employer(s). If the
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    1   Expert believes the information required under (4) is subject to a confidentiality
    2   obligation to a third party, then the Expert should provide whatever information the
    3   expert believes can be disclosed without violating any confidentiality agreements,
    4   and the party seeking to disclose the information to the expert shall be available to
    5   meet and confer with the designator regarding any such confidentiality obligations.
    6         (a) A party that makes a request and provides the information specified in this
    7   Section may disclose the designated material to the identified Expert unless, within
    8   seven days of delivering the request, the party receives a written objection from the
    9   Designating Party providing detailed grounds for the objection.
   10         (b) All challenges to objections from the designator shall proceed under L.R.
   11   37-1 through L.R. 37-4.
   12         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
   13   IN OTHER LITIGATION
   14         If a Party is served with a subpoena or a court order issued in other litigation
   15   that compels disclosure of any information or items designated in this Action as
   16   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” that Party must:
   17         (a)    promptly notify in writing the Designating Party. Such notification shall
   18   include a copy of the subpoena or court order;
   19         (b)    promptly notify in writing the party who caused the subpoena or order
   20   to issue in the other litigation that some or all of the material covered by the subpoena
   21   or order is subject to this Protective Order. Such notification shall include a copy of
   22   this Stipulated Protective Order; and
   23         (c)    cooperate with respect to all reasonable procedures sought to be pursued
   24   by the Designating Party whose Protected Material may be affected.
   25         If the Designating Party timely seeks a protective order, the Party served with
   26   the subpoena or court order shall not produce any information designated in this
   27   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY
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    1   EYES ONLY” before a determination by the court from which the subpoena or order
    2   issued, unless the Party has obtained the Designating Party’s permission. The
    3   Designating Party shall bear the burden and expense of seeking protection in that
    4   court of its confidential material and nothing in these provisions should be construed
    5   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
    6   directive from another court.
    7         A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
    8   PRODUCED IN THIS LITIGATION
    9         (a)    The terms of this Order are applicable to information produced by a
   10   Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
   11   CONFIDENTIAL – ATTORNEY EYES ONLY.” Such information produced by
   12   Non-Parties in connection with this litigation is protected by the remedies and relief
   13   provided by this Order.      Nothing in these provisions should be construed as
   14   prohibiting a Non-Party from seeking additional protections.
   15         (b)    In the event that a Party is required, by a valid discovery request, to
   16   produce a Non-Party’s confidential information in its possession, and the Party is
   17   subject to an agreement with the Non-Party not to produce the Non-Party’s
   18   confidential information, then the Party shall:
   19                (1)    promptly notify in writing the Requesting Party and the Non-
   20   Party that some or all of the information requested is subject to a confidentiality
   21   agreement with a Non-Party;
   22                (2)    promptly provide the Non-Party with a copy of the Stipulated
   23   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   24   specific description of the information requested; and
   25                (3)    make the information requested available for inspection by the
   26   Non-Party, if requested.
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    1         (c)    If the Non-Party fails to seek a protective order from this court within
    2   14 days of receiving the notice and accompanying information, the Receiving Party
    3   may produce the Non-Party’s confidential information responsive to the discovery
    4   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
    5   not produce any information in its possession or control that is subject to the
    6   confidentiality agreement with the Non-Party before a determination by the court.
    7   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
    8   of seeking protection in this court of its Protected Material.
    9         UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   10         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   11   Protected Material to any person or in any circumstance not authorized under this
   12   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   13   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   14   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   15   persons to whom unauthorized disclosures were made of all the terms of this Order,
   16   and (d) request such person or persons to execute the “Acknowledgment and
   17   Agreement to Be Bound” that is attached hereto as Exhibit A.
   18         INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   19   PROTECTED MATERIAL
   20         When a Producing Party gives notice to Receiving Parties that certain
   21   inadvertently produced material is subject to a claim of privilege or other protection,
   22   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   23   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   24   may be established in an e-discovery order that provides for production without prior
   25   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   26   parties reach an agreement on the effect of disclosure of a communication or
   27   information covered by the attorney-client privilege or work product protection, the
   28
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    1   parties may incorporate their agreement in the stipulated protective order submitted
    2   to the court.
    3         MISCELLANEOUS
    4                   Right to Further Relief. Nothing in this Order abridges the right of any
    5   person to seek its modification by the Court in the future.
    6                   Right to Assert Other Objections. By stipulating to the entry of this
    7   Protective Order no Party waives any right it otherwise would have to object to
    8   disclosing or producing any information or item on any ground not addressed in this
    9   Stipulated Protective Order. Similarly, no Party waives any right to object on any
   10   ground to use in evidence of any of the material covered by this Protective Order.
   11                   Filing Protected Material. A Party that seeks to file under seal any
   12   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   13   only be filed under seal pursuant to a court order authorizing the sealing of the
   14   specific Protected Material at issue. If a Party’s request to file Protected Material
   15   under seal is denied by the court, then the Receiving Party may file the information
   16   in the public record unless otherwise instructed by the court.
   17         FINAL DISPOSITION
   18         After the final disposition of this Action, as defined in paragraph 4, within 60
   19   days of a written request by the Designating Party, each Receiving Party must return
   20   all Protected Material to the Producing Party or destroy such material. As used in
   21   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   22   summaries, and any other format reproducing or capturing any of the Protected
   23   Material. Whether the Protected Material is returned or destroyed, the Receiving
   24   Party must submit a written certification to the Producing Party (and, if not the same
   25   person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
   26   (by category, where appropriate) all the Protected Material that was returned or
   27   destroyed and (2) affirms that the Receiving Party has not retained any copies,
   28
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    1   abstracts, compilations, summaries or any other format reproducing or capturing any
    2   of the Protected Material. Notwithstanding this provision, Counsel are entitled to
    3   retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
    4   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
    5   reports, attorney work product, and consultant and expert work product, even if such
    6   materials contain Protected Material. Any such archival copies that contain or
    7   constitute Protected Material remain subject to this Protective Order as set forth in
    8   Section 4 (DURATION).
    9         Any violation of this Order may be punished by any and all appropriate
   10   measures including, without limitation, contempt proceedings and/or monetary
   11   sanctions.
   12   //
   13   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   14
   15
        August 15, 2019                            By: /s/ Ryan D. Ball
   16                                                Richard J. Grabowski
                                                     Ryan D. Ball
   17                                                Jack Williams IV
                                                     JONES DAY
   18                                                3161 Michelson Drive, Suite 800
                                                     Irvine, CA 92612.4408
   19
                                                   Attorneys for Defendant
   20                                              Experian Information Solutions, Inc
   21
   22   August 15, 2019                            By: /s/ Taylor T. Smith
                                                     Taylor T. Smith
   23                                                WOODROW & PELUSO, LLC
                                                     3900 East Mexico Avenue, Suite 300
   24                                                Denver CO, 80210
                                                     Telephone: (720) 907-7628
   25                                                Facsimile: (303) 927-0809
   26                                              Attorneys for Plaintiff
                                                   Bryce Abbink
   27
   28
                                                                    STIPULATED PROTECTIVE ORDER
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    1   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
    2
    3   DATED       ______________________________
    4
    5   __________________________________
    6   Hon. Patrick J. Walsh
    7   United States Magistrate Judge
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                                                            STIPULATED PROTECTIVE ORDER
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    1                                        EXHIBIT A
    2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3         I, _________________, of ____________________________, declare under
    4   penalty of perjury that I have read in its entirety and understand the Stipulated
    5   Protective Order that was issued by the United States District Court for the Central
    6   District of California on ____________ in the case of _______________________
    7   _______________________________________. I agree to comply with and to be
    8   bound by all the terms of this Stipulated Protective Order and I understand and
    9   acknowledge that failure to so comply could expose me to sanctions and
   10   punishment in the nature of contempt. I solemnly promise that I will not disclose in
   11   any manner any information or item that is subject to this Stipulated Protective
   12   Order to any person or entity except in strict compliance with the provisions of this
   13   Order.
   14         I further agree to submit to the jurisdiction of the United States District Court
   15   for the Central District of California for the purpose of enforcing the terms of this
   16   Stipulated Protective Order, even if such enforcement proceedings occur after
   17   termination of this action. I hereby appoint __________________________ of
   18   ______________________________________________ as my California agent
   19   for service of process in connection with this action or any proceedings related to
   20   enforcement of this Stipulated Protective Order.
   21   Date: _____________________
   22   City and State where sworn and signed: ________________________________
   23
   24   Printed name: __________________________
   25   Signature: _____________________________
   26
   27
   28
                                                                    STIPULATED PROTECTIVE ORDER
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